Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.114 Page 1 of 6



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   9
                            UNITED STATES DISTRICT COURT

  10                      SOUTHERN DISTRICT OF CALIFORNIA

  11
                                                 Case No. 3:18-cv-02458-BEN-BLM
  12   CALIFORNIA TRUCKING
       ASSOCIATION, RAVINDER SINGH,              REPLY MEMORANDUM IN
  13   and THOMAS ODOM,                          SUPPORT OF MOTION FOR
                                                 LEAVE TO INTERVENE
  14               Plaintiffs,
                                                 Hearing Date: January 14, 2019
  15         v.                                  Time: 10:30am
                                                 Judge: Honorable Roger T. Benitez
  16   XAVIER BECERRA, in his official
       capacity as the Attorney General of the
  17   State of California; ANDRE
       SCHOORL, in his official capacity as
  18   the Acting Director of the Department
       of Industrial Relations of the State of
  19   California; and JULIE A. SU, in her
       official capacity as Labor Commissioner
  20   of the State of California, Division of
       Labor Standards Enforcement,
  21
                   Defendants.
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           REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.115 Page 2 of 6



   1                                REPLY MEMORANDUM
   2         Plaintiffs’ opposition to International Brotherhood of Teamsters’ (“IBT”)
   3   Motion for Leave to Intervene all but concedes that Ninth Circuit authority
   4   requires that intervention be granted. Plaintiffs ignore the controlling authority
   5   cited in IBT’s motion and offer no serious argument regarding any of the prongs of
   6   the intervention test. Rather than meaningfully address the relevant standard or
   7   discuss the case law governing intervention, Plaintiffs instead use their opposition
   8   primarily to make assertions about the merits of their claims that are irrelevant to
   9   IBT’s motion. See generally Dkt. 15 (hereinafter “Opp.”). IBT’s motion, which
  10   Defendants do not oppose (Dkt. 14), should be granted.
  11   I.    The IBT Is Entitled to Intervene of Right
  12         Plaintiffs do not dispute that IBT’s motion to intervene is timely, and that an
  13   adverse decision would, as a practical matter, impair or impede IBT’s interests.
  14   Plaintiffs argue that IBT lacks a protectable interest in this case and that the
  15   existing Defendants will adequately represent IBT’s interests. They are wrong on
  16   both counts.
  17         A.       The IBT Has a Protectable Interest in this Case
  18         Plaintiffs apparently contend that because the IBT is wrong on the merits it
  19   lacks a protectable interest in this case. Opp. at 4-5 (arguing that vindication of
  20   “[t]he Teamsters’ supposed ‘interest’ in this action” would “frustrate[] Congress’
  21   intent in deregulating the trucking industry and unlawfully restrict[] interstate
  22   commerce”). However, whether a party is correct on the merits of the case is not
  23   relevant to whether the party has a right to intervene. See Dkt. 11-1 at 6
  24   (hereinafter “Mot.”) (quoting four-part test for intervention, which does not
  25   consider merits of case).1
  26         1
               Further, Plaintiffs’ representations about the merits are false and/or
       misleading. In California Trucking Association v. Su (Opp. at 3 n.2), the Ninth
  27   Circuit expressly declined to reach the question whether the Federal Aviation
       Administration Authorization Act (“FAAAA”) would preempt use of the test
  28   announced in Dynamex Operations West, Inc. v. Superior Court, 4 Cal.5th 903
       (2018), to enforce California’s employment laws, because the issue was not

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            REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.116 Page 3 of 6



   1         Rather, the relevant question is whether IBT has shown a concrete interest in
   2   the outcome of the case. Plaintiffs do not dispute that, under the facts they allege,
   3   the rule announced in Dynamex would directly benefit IBT’s members by making
   4   it more difficult to misclassify workers as independent contractors, providing
   5   IBT’s members with more job opportunities, and leveling the playing field
   6   between businesses that employ IBT’s members and those that classify their
   7   workers as independent contractors. See Mot. at 7-8.2
   8         Nor can Plaintiffs dispute the directly on-point precedent establishing that
   9   labor organizations have concrete interests in defending laws designed to protect
  10   the workers they represent. See, e.g., Western States Trucking Ass’n v. Schoorl,
  11   2018 WL 5920148, at *2 (E.D. Cal. Nov. 13, 2018) (holding IBT has protectable
  12   interest in defending Dynamex rule against FAAAA preemption and dormant
  13   Commerce Clause challenge by trucking association); Allied Concrete and Supply
  14   Co. v. Baker, 904 F.3d 1053, 1067-68 (9th Cir. 2018) (holding IBT has protectable
  15   interest in defending prevailing wage law against FAAAA preemption challenge
  16   and other claims); see also Mot. at 7 (citing additional cases).
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  19   presented in that case. 903 F.3d 953, 965 n.9 (9th Cir. 2018). And neither
       Dynamex nor Wage Order No. 9 requires out-of-state motor carriers to transfer
  20   goods to California drivers at the state’s border. See Opp. at 5 n.3. Rather, the law
       requires only that the working conditions of any driver in California comply with
  21   the Wage Order by payment of a minimum wage, provision of meal and rest
       breaks, and reimbursement of costs incurred in operating the driver’s truck. See
  22   Industrial Welfare Commission Wage Order 9-2001, Cal. Code Regs., tit. 8,
       §11090.
  23           2
                 Plaintiffs’ assertion that IBT “do[es] not dispute that Dynamex will result
  24   in all independent contractor drivers being reclassified as employees,” Opp. at 4, is
       inaccurate. IBT’s motion stated merely that “Plaintiffs allege that Dynamex will
  25   result in all independent contractor drivers in the trucking industry being
       reclassified as employees.” Mot. at 4 (emphasis added). Similarly, the IBT press
  26   release quoted in Plaintiffs’ opposition demonstrates opposition not to
       “independent contractors” per se (Opp. at 2 n.1), but to employers that “misclassify
  27   their employees as independent contractors.” California Teamsters Support Clear
       Test of Employee Classification, Aug. 15, 2018, https://teamster.org/news/2018/08/
  28   teamsters-push-back-corporate-opposition-supreme-courts-landmark-dynamex-
       decision.

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            REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.117 Page 4 of 6



   1         B.     The Existing Parties May Not Adequately Represent the IBT’s
   2                Interests

   3         Plaintiffs’ argument that the existing parties will adequately represent IBT’s
   4   interests is similarly foreclosed by Ninth Circuit precedent, which specifically
   5   holds that a labor union satisfies the inadequacy requirement where, as here, it
   6   intervenes in a lawsuit filed against California public officials to invalidate a state
   7   law that protects union members’ employment interests. See Mot. at 10 (quoting
   8   Allied Concrete, 904 F.3d at 1068 (“IBT’s interests are potentially more narrow
   9   than the public’s at large, and the State’s representation of those interests ‘may
  10   have been inadequate.’” (emphasis in original); Californians For Safe &
  11   Competitive Dump Truck Transp. v. Mendonca, 152 F.3d 1184, 1189-90 (9th Cir.
  12   1998) (holding IBT entitled to intervene as of right where “the employment
  13   interests of IBT’s members were potentially more narrow and parochial than the
  14   interests of the public at large,” so “IBT demonstrated that the representation of its
  15   interests by named defendants-appellees may have been inadequate”); and other
  16   cases).
  17         In Western States Trucking Association, a case that (like this one) involved a
  18   trucking association’s FAAAA and dormant Commerce Clause challenge to
  19   Dynamex and Wage Order No. 9, Judge England held that these Ninth Circuit
  20   decisions are “dispositive” on the question whether IBT had met the inadequacy
  21   prong of the intervention test. See 2018 WL 5920148, at *2. Plaintiffs simply
  22   ignore this authority, and point to nothing that justifies a different result here.3
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  24         3
                Plaintiffs also misstate the relevant standard. IBT need not demonstrate
  25   that intervention is “necessary” to protect its interests. Opp. at 5. Rather, the
       inadequacy requirement “is satisfied if the applicant shows that representation of
  26   his interest ‘may be’ inadequate; and the burden of making that showing should be
       treated as minimal.” Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10
  27   (1972) (emphasis added). Accordingly, inadequacy does not require IBT to show
       that the “existing defendants will not vigorously oppose the relief sought by
  28   Plaintiffs,” or that IBT is “better suited” than the existing Defendants to defend the
       Dyamex rule. Opp. at 5-6.

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            REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.118 Page 5 of 6



   1          Plaintiffs are also wrong in arguing that IBT cannot intervene as of right
   2   because this case involves “a question of law.” Opp. at 5-6. Whether Plaintiffs’
   3   claims turn on legal determinations is irrelevant to the question whether the
   4   existing parties will adequately represent IBT interests, which is controlled by the
   5   case law cited above.4
   6   II.    Alternatively, Permissive Intervention Should be Granted
   7          Plaintiffs do not dispute that IBT satisfies the threshold requirement for
   8   permissive intervention: that the proposed intervenor have “a claim or defense that
   9   shares with the main action a common question of law or fact.” Fed. R. Civ. P.
  10   24(b)(1)(B). Instead, they wrongly contend that IBT’s intervention will delay the
  11   adjudication of this case because IBT will “present arguments for the Court’s
  12   consideration.” Opp. at 6. But the Ninth Circuit has made clear that the potential
  13   need to address additional argument or evidence is not a basis for denying
  14   permissive intervention. See Empl. Staffing Servs., Inc. v. Aubry, 20 F.3d 1038,
  15   1042 (9th Cir. 1994) (upholding grant of permissive intervention where “the Union
  16   added no claims or issues to those already in the case, and did not complicate or
  17   delay resolution beyond the need of plaintiffs to respond to additional briefing”).
  18   Accordingly, permissive intervention should be granted if IBT is not allowed to
  19   intervene as of right.
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  22            In any event, this case will not necessarily turn on purely legal questions.
       If this Court does not grant Defendants’ motion to dismiss (Dkt. 16), evidence
  23   regarding the impact of Dynamex may be relevant. The FAAAA preempts state
       laws that have a “‘significant impact’ on carrier rates, routes, or services,” but does
  24   not disturb laws with only a “tenuous, remote, or peripheral” effect. Rowe v. N.H.
       Motor Transp. Ass’n, 552 U.S. 364, 375 (2008) (quoting Morales v. Trans World
  25   Airlines, Inc., 504 U.S. 374, 390 (1992)) (emphasis in original). And the dormant
       Commerce Clause invalidates laws that do not discriminate against out-of-state
  26   entities only if “the burden imposed on [interstate] commerce is clearly excessive
       in relation to the putative local benefits.” Pike v. Bruce Church, Inc., 397 U.S.
  27   137, 142 (1970). Both tests may in some circumstances contemplate the
       introduction of evidence bearing on the real-world effects of a challenged law, and
  28   it would be unfair to permit transportation businesses to introduce evidence on
       these issues while denying affected workers the same opportunity. See Mot. at 12.

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             REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
Case 3:18-cv-02458-BEN-DEB Document 17 Filed 01/07/19 PageID.119 Page 6 of 6



   1                                    CONCLUSION
   2         For the reasons stated, the Court should grant IBT leave to intervene as a
   3   defendant.
   4
   5   Dated: January 7, 2019                       Respectfully submitted,
   6
                                                    STACEY M. LEYTON
   7                                                ANDREW KUSHNER
   8                                                Altshuler Berzon LLP

   9                                                By:   /s/ Stacey M. Leyton
  10   f                                                    Stacey M. Leyton

  11                                                Attorneys for Proposed Intervenor
                                                    International Brotherhood of
  12                                                Teamsters
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           REPLY ISO MOTION FOR LEAVE TO INTERVENE; Case No. 3:18-cv-02458-BEN-BLM
